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                              UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF COLORADO



 In Re:                                               )
                                                                    Case No. 18-19746
                                                      )
 Glen Pugh
                                                      )
                                                      )
                                   Debtor(s).         )


                           CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN
                                  BK GLOBAL REAL ESTATE SERVICES
               TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327


          COMES NOW the Chapter 7 Trustee, Kevin Kubie, and pursuant to 11 U.S.C. § 327, states as

follows:


          1.   Kevin Kubie, is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate of

               Glen Pugh .

          2. An asset of the bankruptcy estate is real property located at 5 DEL NORTE DR ROSWELL,

               NM 88201, and which is legally described as follows:

               Parcel Number: 4-136-059-244-474-000000
               Tax ID: R026201
               Census Tract: 350050010.022021
               Carrier Route: C031
               Abbreviated Description: SUBD: DEL NORTE ESTATES BLOCK: 1 LOT: 3 QUARTER:
               SW S: 21 T: 10S R: 24E BK: 205 PG: 956


               hereinafter referred to as the “Real Property”.

          3.   The Debtor(s) have not declared the Real Property as exempt.

          4. The listed Real Property has a value of $108,000.00

          5. The Real Property is subject to the following mortgage(s) or lien(s):
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              a. First Mortgage Holder: Mr. Cooper

      6. The creditors holding mortgages or liens have filed proofs of claims setting forth the following

          balances due and owing on the Real Property:

              a. Mr. Cooper in an amount exceeding $100,580.92

      7. Based upon the market value of the Real Property provided by the Debtor(s) and the Proof of

          Claim [or schedules], of the Debtor(s), the first mortgage debt is in excess of the market value

          of the Real Property.

      8. The Handbook for Chapter 7 Trustees published by the Executive Office of the United States

          Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a) General Standards “A

          trustee may sell assets only if the sale will result in a meaningful distribution to creditors. The

          Section further states “the trustee may seek a “carve-out” from a secured creditor and sell the

          property at issue if the “carve-out” will result in a meaningful distribution to creditors. Further,

          the Section states “The trustee must also consider whether the cost of administration or tax

          consequences of any sale would significantly erode or exhaust the estate’s equity interest in the

          asset.”

      9. BK Global Real Estate Services (“BK Global”) provides services to trustees as BK Global has

          expertise and experience in assisting the trustee in negotiating with secured creditors to

          accomplish the following:

              a. Sell the Real Property under 11 U.S.C. § 363(b) to whichever party the Chapter 7

                    Trustee determines to have made the best qualified offer with the sale approved by the

                    Court, pursuant to 11 U.S.C. § 363;

              b. Obtain the release the senior mortgage and waive all of its claims against the estate

                    with respect to the Real Property (including any deficiency claims resulting from the

                    proposed sale);

              c. Work with the secured mortgage holder to enter into an agreement for an 11 U.S.C. §

                    506 surcharge to pay all of the closing expenses associated with the § 363 sale,
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                  including the payment of a six percent (6%) real estate brokerage commission and

                  reimbursement of their out-of-pocket expenses to BK Global and any associated real

                  estate professional, paid from the proceeds of the sale, and provide a meaningful carve

                  out for the benefit of allowed unsecured creditors of the Debtor(s)’ estate; and

              d. Make certain the amount of the carve out is clearly set out in the motion to sell the Real

                  Property pursuant to 11 U.S.C. § 363.

      10. BK Global will assist the Chapter 7 trustee in negotiations with the first mortgage holder to

          obtain the consent of the first mortgage holder for the sale of the Real Property. A carve out

          from the sale proceeds of the Real Property for the payment of a six percent (6%) real estate

          commission to BK Global and any associated real estate professional, and a carve out from the

          sale proceeds, such amount for the benefit of unsecured creditors of the bankruptcy estate,

          which will result in a meaningful distribution to the creditors, and upon a successful resolution

          with the secured creditor, a separate motion will be filed seeking approval of the settlement

          terms and conditions.

      11. BK Global will not be entitled to any fees if the first mortgage holder does not grant its consent

          or the Court does not grant the motion to approve the sale of the Real Property.

      12. In no event will the bankruptcy estate have any obligation to pay BK Global or associated real

          estate professional for their services, or to pay the customary title and closing services. The

          terms of the listing agreement and this Application provide that BK Global and listing agent

          are only entitled to payment if and when (a) secured creditor grants its consent, (b) the motion

          to approve sale is granted and (c) the Real Property is sold, in which event BK Global and

          listing agent will receive a six percent (6%) real estate brokerage commission and obtain

          reimbursement of any out-of-pocket expenses.

      13. The trustee believes that the highest and best value for the Real Property will be generated

          through a sale in which the Real Property is widely marketed to the public and offered at the

          highest price that the market will bear. The Trustee further believes that such a sale is in the
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            best interest of the Debtor(s)’ bankruptcy estate, but can only be achieved if the secured

            creditor’s consent is first obtained. The Chapter 7 trustee believes that retaining BK Global

            and/or an associated real estate professional to obtain the secured creditor’s consent is in the

            best interest of the Debtor(s)’ bankruptcy estate.

        14. The trustee submits that the terms of employment and compensation as set out in this

            application and the listing agreement (Exhibit “A”), are reasonable in light of the extensive

            experience of BK Global and any associated real estate professional, and the nature of the

            services they provide.

        15. BK Global attested that it is a disinterested person within the meaning of Section 101(14) of

            the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached

            hereto as Exhibit “B” is an Affidavit of Disinterestedness of BK Global. BK Global also attests,

            pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any individual or

            entity other than listing agent or a buyer’s agent, if applicable.


        WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to retain

BK Global in this case and requests that the Court approve the compensation arrangements set forth in the

listing agreement and this application, pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code;

and for such other and further relief as the Court determines is appropriatw


        DATED: February 11, 2019


                                          Respectfully Submitted,


                                          /s/ Kevin P. Kubie
                                          Kevin Kubie, Trustee
                                          PO Box 8928
                                          Pueblo, CO 81008
                                          (719) 545-1153
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                                      CERTIFICATE OF SERVICE


         I hereby certify that on February 11, 2019, the above and foregoing Chapter 7 Trustee’s Application
to Retain BK Global Real Estate Services to Procure Consented Public Sale, Order and Notice was filed
and a true and correct copy of this document was served as follows:
US Trustee’s Office
1961 Stout Street, Suite 12-200
Denver, CO 80294

Glen Pugh
1840 W. Acomita Drive
Pueblo West, CO 81007-6810

Christine Pacheco- Koveleski, Esq.
329 Colorado Avenue
Pueblo, CO 81004


                                         /s/ Kari Haag
